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 1   Eric C. Kastner (SBN 53858)
     eck@kastnerkim.com
 2   J. Philip Martin (SBN 55100)
     jpm@kastnerkim.com
 3   KASTNER | KIM LLP
     3150 De La Cruz Blvd. Suite 206
 4   Santa Clara, CA 95054
     Tel.: (650) 967-7854
 5
     Attorneys for Plaintiff,
 6
     DANIEL WARMENHOVEN
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 9                                    UNITED STATES DISTRICT COURT
10                                 NORTHERN DISTRICT OF CALIFORNIA
11
     DANIEL WARMENHOVEN,                               Case No. 5:17-cv-02990 - BLF
12
                                Plaintiff,
13
            v.                                         DECLARATION OF DANIEL
14                                                     WARMENHOVEN IN SUPPORT OF
     NETAPP, INC., A DELAWARE                          PLAINTIFF DANIEL
15   CORPORATION, NETAPP EXECUTIVE                     WARMENHOVEN’S OPPOSITION
     MEDICAL RETIREMENT PLAN,
16                                                     TO DEFENDANTS’ MOTION FOR
                            Defendants,                SUMMARY JUDGMENT ON
17                                                     EQUITABLE REMEDIES
18
                                                       Date:      October 13, 2022
19                                                     Time:      9:00 a.m.
                                                       Courtroom: 3
20
                                                       Judge:     Hon. Beth Labson Freeman
21

22                                                     Complaint Filed: 05/24/2017
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27   DECLARATION OF DANIEL WARMENHOVEN IN SUPPORT OF OPPOSITION TO
     DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT ON EQUITABLE REMEDIES
28                                                        CASE NO. 5:17-CV-02990
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 1          I, DANIEL WARMENHOVEN, declare as follows:

 2          1.      I am a plaintiff in this action. The following facts are within my personal

 3   knowledge and if called and sworn as a witness I am competent to truthfully testify thereto. I

 4   make this declaration in support of Plaintiff’s opposition to Defendants’ Motion for Summary

 5   Judgment on Equitable Remedies.

 6          2.      I was employed by NetApp, Inc. (“NetApp” or “the Company”) from 1994 to

 7   2014. I was the Chief Executive Officer (“CEO”) from 1994 until Aug, 2009 and from 1994 to

 8   2014 was a member of the Board of Directors. I was the CEO in 2003 when the subject of

 9   creating a Medical Plan for retired executives first arose. Jeff Allen (“Allen”), then CFO at

10   NetApp was planning to retire and advised me he was concerned about his ability to secure

11   medical insurance given a pre-existing condition as he would not be eligible for Medicare upon

12   retirement. I then directed NetApp’s Human Resources (“HR”) officers, Chris Carlton, Vice

13   President, and Marge Correa, the HR Director to work with the NetApp Board of Directors’

14   Compensation Committee (“Comp Committee”) which had jurisdiction over all NetApp

15   employee benefits plans, to see if it was possible to devise a medical insurance plan for senior

16   executives at Allen’s level.

17          3.      After nearly two years of consideration, the Comp Committee, comprised of

18   Board members Carol Bartz, Bob Wall and Mark Leslie, adopted an Executive Medical

19   Retirement Plan (the “Plan”) on behalf of the Committee in May, 2005. The Plan, chiefly

20   drafted by Ms. Correa, was set forth in a Power Point, a true and correct copy of which is

21   attached hereto as Exhibit 1. No other documents were created by NetApp relating to the Plan at

22   that time.

23          4.      At the same time, NetApp changed the insurance company which administered

24   the NetApp employee medical plan from Great West to Cigna Insurance Company (“Cigna”).

25   Cigna, in turn, became the administrator of the Plan, which then only had one beneficiary, Allen,

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27   DECLARATION OF DANIEL WARMENHOVEN IN SUPPORT OF OPPOSITION TO
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 1   who retired as a full time NetApp employee in May, 2005 and then became a member of the

 2   Board of Directors.

 3          5.        As stated in the Plan (Exhibit 1) it was designed to confer lifetime medical

 4   benefits on the Senior Executives and their spouses with the Plan becoming supplementary to

 5   Medicare when the executive and the spouse reached the age of 65. In addition, children of the

 6   retired executive would be covered by the Plan until age 26. The Plan was self-funded; that is,

 7   NetApp paid all premiums for the executive’s coverage. Nothing in the Plan document (Ex. 1)

 8   provided that NetApp could amend or terminate the Plan after an eligible executive retired and

 9   he and his spouse were covered. And that was my intent and expectation when I directed the Plan

10   to be created.

11          6.        At no time during my tenure at NetApp through 2015 did any member of the

12   Comp Committee or HR advise me that language in the Cigna Certificate of insurance in any

13   way created a right in NetApp to terminate the Plan. The Plan was a factor in my decision to

14   continue as CEO of NetApp until I met the age and years of service requirement to vest the

15   lifetime medical benefits upon my retirement.

16          7.        Cigna was replaced as the NetApp employee medical plan insurance administrator

17   in 2013 in favor of United Healthcare (“UHC”). Similar to Cigna, UHC then became the

18   administrator of the Plan which by 2013 had two additional beneficiaries – Steve Gomo, the

19   Chief Financial Officer who retired in early 2011 and Edward Deenihan who retired in 2013.

20   UHC also prepared Certificates of Insurance it provided to NetApp. Nothing in the UHC

21   Certificate I saw purported to delegate to NetApp the right to amend or terminate the Plan.

22          8.        Shortly before my retirement as CEO in 2014 I was given a copy of the Plan, still

23   in the form of the Power Point presentation. A true and correct copy of that document dated

24   March 2014, is attached hereto as Exhibit 2. Other than a slight to change the pool of eligible

25   senior executives from SEC Section 16b officers to Executive Vice Presidents, the terms of the

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27   DECLARATION OF DANIEL WARMENHOVEN IN SUPPORT OF OPPOSITION TO
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 1    Plan were the same since its inception: a lifetime benefit for myself and my wife and for my

 2    children until age 26. In none of the communications with HR about my impending retirement

 3    and eligibility for the Plan was there any suggestion the Plan could be amended or terminated
 4    and no such language was contained in Exhibit 2.
 5           9.      In the summer of2016, I was advised by both George Kurian, then the CPO, and

 6    Gwen McDonald, HR Executive Vice President, that the Comp Committee had decided to

 7   terminate the Plan and substitute, for a period of 3 years, individual insurance policies for all

 8   Plan beneficiaries (including myself) and then end the Plan in December, 2019 with a payment to

 9   be made to beneficiaries subject to signing a release agreement. I attended a meeting with

10   Kurian, McDonald, and most of the beneficiaries on August 25, 2016 and received documents

11   explaining the new Plan. At no time in that meeting, or later in meetings and conversations I had

12   with Kurian, McDonald, and NetApp Board of Director Chairman Mike Nevins, did any NetApp

13   officer explain the source of the Company's claimed right to terminate the Plan. There was no

14   mention of ERISA or that the Plan was part ofthe insurance documents now before the Court.

15   The word ERISA was never raised or mentioned by the Company until this lawsuit was initiated.

16           10.     As with all the other Plan beneficiaries I purchased individual policies with

17   Anthem Blue Cross and Express Scripts that was supplementary to Medicare coverage for which
18   I became eligible in 2015. My wife also became Medicare eligible and our Medicare premiums

19   combined are approximately $1,006,80 per month. The supplemental plans with Anthem &

20   Express Scripts cost approximately $430.00 per month for both of us combined, which we are

21   still paying to date.

22           I declare the foregoing to be true under penalty of perjury. Executed this   Lf ·r'&y of July,
23   2022 in Mountain View, California.

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27   DECLARATION OF DANIEL WARMENHOVEN IN SUPPORT OF OPPOSITION TO
     DEFENDANTS' MOTION FOR SUMMARY JUDGMENT ON EQUITABLE REMEDIES
28                                                        CASENO. 5:17-CV-02990
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                 EXHIBIT 1
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                 Fxecutive Retirement Medical PIan


       period to a defined group of retiring executives as a fully-insured plan

     > Participation
7          Minimum 5 years of service
z.         Minimum age 50
           Retired 16b officers (all executives who are or have been 16b
7.
!
           officers)
o           '   Easily identified group - no question as to who is eligible
            .   Substantially different responsibilitíes when compared to other executives
            .   Small group - limits the cost - time to evaluate the impact
           Age + (years of service doubled) is equal to or greater than 65
           Coverage for retiring executive and spouseleligible children if
           applicable
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z    > lmplement May 1, 2OO5
FI                                                         *
z                                      NetApp Confden6el       Do Not Dist¡ibqte             15

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                 Executive Retirement Msdical Plan                                   - connt
      ) CIGNA HealthCare Open Access Plus plan for Retirees
           Fully insured Plan (Highlights document attached)
           Rate Structure through 12lYn6
            " Employee   only           $740,26
7
            " EE +     Spouse         $1,470.03
'2,
             . EE +    Family         $2,747.11
,7'
           100o/o paid by Company - no premium contribution from retiree
\          Medícare COB with Medicare primary
           Unlimited lifetime rnaximum benefit

      > Change of Control provision
          Plan will include a provision such that in the event of a change of
           control, the acquiring company must provide a Retiree Medical
           Plan that is substantially equivalent to our Plan and keep the Plan
ô          in place for the lives of the eligible ernployees
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                                                                     Executive Medical
    ffi                                                              Retirernent Plan
                                                                     March 2014




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                      Executive Medical Retirement Plan
                  E Executive Medical Retirement Plan adopted
                    by the Cornpany as a method to retain a
                    defined group of senior executives
                  r Plan provides medical benefrts for the
                    retiree's lifetirne
                  n Eligibility:
                       Executive Vice President or above
                       Age and Service Requirements
                                  r Minimum age 50, and
                                  r Age plus 2 x Service => 65

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 trffi Executive Medical Retirement Plan
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                     r No retiree contributions required
                     n Eligible dependents include spouse/partner
                       and children
                     ä Benefits coordinated with Medicare for
                       retirees age 65 and above
                     r Medical benefits are fully insured with
                       UnitedHealthcare
                                  Plan design is a PPO (90% networkl9}% out-
                                  of-network)



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                                                                                            NETAPP 001827
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                           Medical Plan Design

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             Lifetime maximum                                                      Unlimited,,          ..:: .             :    Unl¡rnited



             1 Services are subject to calendar year deductible
             2 Services are subject to calendar year deductible and reasonable & customâry charge limitations
             3 Care provided at ín-nelwork levels if ¡t meets 'prudent
                                                                       layperson' def¡n¡lion of an emergency. Otheruise            200lo of charges
             4 lncludes pfan deduct¡ble


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